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                                         7   Vegas Sports Information Network, LLC

                                         8
                                                                       UNITED STATES DISTRICT COURT
                                         9                                  DISTRICT OF NEVADA
3993 Howard Hughes Parkway, Suite 600




                                        10
                                             ECLIPSE SPORTSWIRE,                                Case No.: 2:21-cv-01205-RFB-DJA
                                        11
                                                      Plaintiff,                                STIPULATION AND [PROPOSED]
                                        12                                                      ORDER TO EXTEND DEADLINE
                                             v.                                                 FOR DEFENDANT TO FILE
Las Vegas, NV 89169




                                        13                                                      ANSWER TO COMPLAINT
                                             VEGAS SPORTS INFORMATION
                                        14   NETWORK, LLC,                                      (Fourth Request)

                                        15            Defendant.

                                        16

                                        17            Plaintiff Eclipse Sportswire (“Plaintiff”), by and through its counsel of record

                                        18   Randazza Legal Group, PLLC, and Defendant Vegas Sports Information Network, LLC

                                        19   (“Defendant”), by and through its counsel of record Lewis Roca Rothgerber Christie LLP,

                                        20   hereby stipulate to extend the time for Defendant to answer or otherwise response to the

                                        21   complaint from October 4, 2021 to November 4, 2021.

                                        22            1.      Plaintiff filed the complaint on June 25, 2021. On July 9, 2021, Plaintiff

                                        23   served Defendant with the summons and complaint. The original deadline to answer or

                                        24   otherwise respond to the complaint was July 30, 2021. The parties stipulated to three prior

                                        25   extensions of time.

                                        26            2.      The parties have been engaged in settlement negotiations and are close to

                                        27   agreeing on terms of settlement. Accordingly, the Defendant has requested that the Plaintiff

                                        28   extend the time for answering or otherwise responding to the complaint by another thirty
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                                             Case 2:21-cv-01205-RFB-DJA Document 18 Filed 10/04/21 Page 2 of 2



                                         1   (30) days to enable the parties additional time to settle this case prior to Defendant incurring

                                         2   fees and costs of answering or otherwise responding to the complaint. The Plaintiff has

                                         3   agreed to do so.

                                         4            4.    Defendant respectfully requests, with the Plaintiff's consent, that the Court

                                         5   extend the deadline for Defendant to answer or otherwise respond to the complaint to

                                         6   November 4, 2021. Defendant believes that this will be the final request for an extension

                                         7   of time to answer or otherwise respond to the complaint.

                                         8

                                         9    Dated this 1st day of October, 2021.            Dated this 1st day of October, 2021.
3993 Howard Hughes Parkway, Suite 600




                                        10    RANDAZZA LEGAL GROUP, PLLC                      LEWIS ROCA
                                                                                              ROTHGERBER CHRISTIE LLP
                                        11

                                        12    By: /s/ Ronald D. Green                         By: /s/ Michael J. McCue
                                              Marc J. Randazza                                Michael J. McCue
Las Vegas, NV 89169




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                                        16    Attorneys for Plaintiff
                                                                                              Attorneys for Defendant
                                        17

                                        18

                                        19                                                  IT IS SO ORDERED.
                                        20

                                        21                                                 UNITEDSTATES
                                                                                                  STATES MAGISTRATE
                                                                                                         DISTRICT JUDGE
                                                                                           UNITED                    JUDGE
                                        22                                                  Dated: October 4, 2021
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